UNITED STATES DlSTRIC'I` COURT

 

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DEBBIE MARoTTo, 51
Plaintiff, ,-S
-vs- cAsE No.; (9'-\6 'w' Fh H"O`A' 9
COMENITY BANK, JURY TRIAL DEMANDED
Defendant.
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Plaintiff, DEBBIE MAROTTO, by and through her undersigned counsel, sues the

Defendant, COMENITY BANK, and in support thereof respectfully alleges the following:
l.

Plaintiff alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §22'7 et

seq. (“TCPA”) and the Florida Consurner Collections Practices Act, Chapter 559, et seq.
(“FCCPA”)

IN'I`RODUCTION
2.

The TCPA was enacted to prevent companies like NAVIENT SOLUTIONS, INC. from

invading American citizen’s privacy and prevent abusive “robo-calls.”
3.

“The TCPA is designed to protect individual consumers from receiving intrusive and

unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

4. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256 scourge of

modern civilization, they wake us up in the moming; they interrupt our dinner at night; they

force the sick and elderly out of bed; they liound us until we want to rip the telephone out of the

 

 

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wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

 

5. According to the Federal Communications Commission (FCC), “Unwanted calls and
texts are the number one complaint to the FCC. There are thousands of complaints to the FCC

every month on both telemarketing and robocalls. The FCC received more than 215,000 TCPA

complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal

JURISDICTION AND VENUE
6. This is an action for damages exceeding Seventy~Five Thousand Dollars ($75,000.00)
exclusive of interest and costs.
7. Jurisdiction and venue for purposes of this action are appropriate and conferred by 28
U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA
and/or by F.S. § 47.011 and/or by 28 U.S.C. § 1332, diversity jurisdiction
8. Subject matter jurisdiction, federal question jurisdiction, for purposes of this action is
appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts shall have
original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the
United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See Mz'ms v.
Arrow Fin. Servs., LLC, 132 S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B., 746
F.3d 1242, 1249 (l lth Cir. 2014).
9. Venue is proper in this District because the Plaintiff resides in this District (Volusia
County), the phone calls were received in this District, and the Defendant transacts business in
Volusia County, Florida.

FACTUAL ALLEGATIONS

10. Plaintiff is a natural person, and citizen of the State of Florida, residing in Volusia
County, Florida, and resides in this District.

11. Plaintiff is a “consumer” as defined in Florida Statute 559.55(2).

12. Plaintiff is an “alleged debtor.”

13. Plaintiff is the “called party.” See Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637,
643 (7th Cir. 2012), reh'g denied (May 25, 2012).

14. Defendant is a “debt collector” as defined by Florida Statute §559.55(6). Defendant
sought to collect a debt from Plaintiff.

15. The debt that is the subject matter of this complaint is a “consumer debt” as defined by
Florida Statute §559.55(1).

16. Defendant, COMENITY BANK, is a corporation which was formed in Delaware with its
principal place of business at One Righter Parkway, Suite 100, Wilmington, Delaware 19803,
conducting business in the State of Florida.

17. The conduct of Defendant which gives rise to the cause of action herein alleged occurred
in this District, Volusia County, Florida, by the Defendant’s placing of illegal calls to Volusia
County, Florida.

18. Defendant, at all material times, was attempting to collect on a debt (hereinafter the
“subject account”), which was issued and serviced by Defendant.

19. Defendant knowingly and/or willli.\lly harassed and abused Plaintiff on numerous
occasions by calling Plaintiff’s cellular telephone number up to four (4) times a day from
approximately March 1, 2015 through September 2015, with such frequency as can reasonably

be expected to harass, all in an effort related to the collection of the subject account.

20. Upon information and belief, some or all of the calls the Defendant made to Plaintiff’s
cellular telephone number were made using an “automatic telephone dialing system” Which has
the capacity to store or produce telephone numbers to be called, using a random or sequential
number generator (including but not limited to a predictive dialer) or an artificial or prerecorded
voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer
calls”). Plaintiff will testify that there was an artificial/pre-recorded voice used in the calls made
to her and that the calls came back-to-bacl< with a frequency that would be typical of an
autodialer.

21. In mid-May 2015 the Plaintiff requested that the Defendant “stop calling” her. Each of
the autodialer calls the Defendant made to Plaintiff”s cellular telephone number after that
conversation in mid-May 2015 was done so after she had revoked consent and without the “prior
expressed consent” of the Plaintiff.

22. Plaintiff is the regular user and carrier of the cellular telephone number, (954) ***-1840,
and was the called party and recipient of Defendant’s autodialer calls.

23. The autodialer calls from Defendant came from the telephone numbers including but not
limited to (614) 212-5287, and when that number is called, a prerecorded voice or a
representative answers and identifies the company as “Comenity.”

24. Since her initial revocation of consent, Plaintiff has told numerous representatives from
Defendant to stop calling her but the calls have continued. The Plaintiff estimates she received
approximately 200 calls since revocation of her consent to be called by the Defendant,

25. Despite Plaintiff informing Defendant to stop calling, the Defendant’s autodialer calls to
Plaintiff's cellular phone continued after mid-May 2015 including, but not limited to, the

following calls:

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xxvi.
xxvii.
26, The Defendant has a corporate policy to use an automatic telephone dialing system or a

pre-recorded or artificial voice, and to make autodialer calls just as they did to Plaintiff's cellular

May 15, 2015
May 16, 2015 (x2)
May 18, 2015 (x3)
May 21, 2015
May 22, 2015 (x2)
May 23, 2015
May 25, 2015 (x2)
May 26, 2015 (x2)
May 27, 2015
May 28, 2015
May 29, 2015
May 30, 2015
June 1, 2015 (x3)
June 2, 2015 (x3)
June 4, 2015

June 6, 2015 (x2)
June 8, 2015 (x4)
June 12, 2015 (x2)
June 15, 2015
June 16, 2015
June 17, 2015 (x3)
June 18, 2015 (x2)
June 19, 2015 (x2)
June 20, 2015 (x2)
June 22, 2015 (x2)
June 23, 2015
June 24, 2015

telephone in this case, with no Way for the called party and recipient of the calls, or the
Defendant, to permit the removal of the incorrect number.

27. Despite actual knowledge of their wrongdoing, the Defendant continued the campaign of
autodialer calls, Well beyond mid-May 2015, when Plaintiff first advised Defendant to stop
calling Plaintiff.

28. Defendant’s corporate policy is structured as to continue to call individuals like the
Plaintiff, despite the individual, like Plaintiff, advising Defendant to stop calling

29. Defendant’s corporate policy provided no means for the Plaintiff to have her cellular
number removed from the call list, or otherwise permit the cessation of and/or suppression of
calls to Plaintiff

30. Defendant has numerous other federal lawsuits pending against them alleging similar
violations as stated in this complaint

31. Defendant has numerous complaints against them across the country asserting that their
automatic telephone dialing system continues to call the wrong people or people who have
revoked consent to be called,

32. Defendant knowingly employed methods and/or has a corporate policy designed to harass
and abuse individuals and has set up their autodialer in a manner which makes it virtually
impossible for the autodialer calls to stop.

33. Defendant knowingly employed methods that did not permit the cessation of or
suppression of autodialer calls to Plaintiff’ s cellular telephone

34. Due to Defendant’s constant autodialer calls and demands for payment Plaintiff has
suffered statutory and actual damages in the form of emotional distress, frustration, worry, anger,

and/or loss of capacity to enjoy life.

COUNT I
(Violation of the TCPA)

35 . Plaintiff re-alleges and incorporates Paragraphs one (1) through thirty-four (34) above
as if fully stated herein.

36. None of Defendant’s autodialer calls placed to Plaintiff were for “emergency purposes”
as specified in 47 U.S.C. § 227(b)(1)(A).

37. Defendant violated the TCPA, with respect to all of its autodialer calls made to Plaintiff’s
cellular telephone number after Plaintiff revoked consent to be called and without Plaintiff's
prior express consent

38. The Defendant willfully and/or knowingly violated the TCPA, especially for each of the
autodialer calls made to Plaintiff"s cellular telephone after Plaintiff notified Defendant on April
15, 2015, when Plaintiff verbally withdrew, revoked, and/or terminated any alleged consent
Defendant believed it had to contact him, and told Defendant to stop calling him.

39. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff’ s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant, COMENITY BANK, for statutory damages, actual damages, treble
damages, punitive damages, costs, interest, and any other such relief the court may deem just and
proper.

COUNT ll
(Violation of the FCCPA)

40. Plaintiff incorporates Paragraphs one (1) through thirty-four (34) above as if fully set
forth herein.

41. At all times relevant to this action Defendant is subject to and must abide by the law of
Florida, including Florida Statute §559.72.

42. Defendant violated Florida Statute §559.72(7) by willfully communicating With the
debtor or any member of her or his family with such frequency as can reasonably be expected to
harass the debtor or his family. Defendant continued to call Plaintiff without Plaintiff’s prior
express consent and after Plaintiff informed Defendant to stop calling. Defendant called Plaintiff
almost daily which is a frequency that can be reasonably expected to harass. The calls continue
through the filing of this complaint

43. Defendant’s actions have directly and proximately resulted in Plaintiff’ s prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant, COMENITY BANK, for statutory damages, punitive damages,
actual damages, treble damages, costs, interest, and any other such relief the court may deem just
and proper.

Respectfully submitted,
s/ F rank H. Kerney 111
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